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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

TYRONE ADAMS,                                                                            PLAINTIFF
ADC #161157

v.                                    4:20-cv-00902-KGB/JTK

WENDY KELLEY, et al.                                                                  DEFENDANTS

                                                ORDER

        The Court has received proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney (Dkt. No. 3).            Plaintiff Tyrone Adams has not filed any

objections, and the time for filing objections has passed.       After careful consideration, the Court

concludes that the proposed findings and recommendations should be, and hereby are, adopted in

their entirety as this Court’s findings in all respects (Id.).   The Court dismisses without prejudice

Mr. Adams’s complaint for failure to pay the filing fee or file a motion to proceed in forma

pauperis within 30 days as directed by the Court (Dkt. No. 1).

        It is so ordered this 21st day of October, 2020.



                                                                 _____________________________
                                                                 Kristine G. Baker
                                                                 United States District Judge
